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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                       ______

TERRY WAYNE WILLIAMS,

                     Petitioner,                   Case No. 2:20-cv-86

v.                                                 Honorable Paul L Maloney

HEIDI L. WASHINGTON et al.,

                     Respondents.
____________________________/

                                           ORDER

              In accordance with the opinion entered this day:

              IT IS ORDERED that Petitioner’s request for preliminary injunctive relief

(ECF Nos. 2, 8, and 9) is DENIED as moot.

              IT IS FURTHER ORDERED that a certificate of appealability is DENIED.



Dated:    August 10, 2020                          /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
